IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

EDMUNDO AMPARAN and
KIMBERLY L. AMAPARAN,

Plaintiffs,
vs. No. 1:15-CV-00045 GBW/LAM
MELVUT BERKAY DEMIR,
DENZICAN KARADENIZ, and
AVIS RENT A CAR SYSTEM, LLC,
a Delaware Limited Liability Company,

Defendants.

DEFENDANT AVIS RENT A CAR SYSTEM, LLC’s OBJECTIONS AND RESPONSES TO

PLAINTIFFS’ SECOND SET OF DISCOVERY REQUESTS TO DEFENDANT AVIS RENT A CAR
SYSTEM, LLC

Defendant Avis Rent A Car Systems, LLC, through its attorneys, Allen, Shepherd, Lewis

& Syra, P.A., hereby provides its objections and responses to Plaintiffs’ Second Set of Discovery

Requests.
Answers to Interrogatories
Interrogatory No. 13: Please state the ARAC policies and procedures, in effect on July

13, 2014, for a rental of a motor vehicle within the United States to an individual under 25 years
of age.

Answer: Defendant objects on the ground that this Interrogatory is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, pursuant to Federal Rule of Civil
Procedure 33(d), responsive information to this Interrogatory may be ascertained by
examining the documents identified as Avis-000001 through Avis-000006, which will be
produced in Response to Request No. 11 upon execution of the attached Confidentiality
Order.
Interrogatory No. 14: Please state the ARAC policies and procedures, in effect on July
13, 2014, for a rental of a motor vehicle in the United States to an individual who has a foreign
driver’s license, but not a United States driver’s license.

Answer: Defendant objects on the ground that this Interrogatory is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, pursuant to Federal Rule of
Civil Procedure 33(d), responsive information to this Interrogatory may be ascertained by
examining the documents identified as Avis-000007 through Avis-000012, which will be
produced in Response to Request No. 13, upon execution of the attached Confidentiality
Order.

Interrogatory No. 15: Please state the ARAC policies and procedures, in effect on July
13, 2014, for a rental of a minivan in the United States to an individual under 25 years of age.
Answer: Defendant objects on the ground that this Interrogatory is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, pursuant to Federal Rule of
Civil Procedure 33(d), responsive information to this Interrogatory may be ascertained by

examining the documents to be produced in Response to Request No. 11, which will be
provided upon execution of the attached Confidentiality Order.

Interrogatory No. 16: Please state the ARAC policies and procedures, in effect on July
13, 2014, for a rental of a motor vehicle in the United States to an individual who has a Turkish
driver’s license, but not a United States driver’s license.

Answer: Defendant objects on the ground that this Interrogatory is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, pursuant to Federal Rule of
Civil Procedure 33(d), responsive information to this Interrogatory may be ascertained by
examining the documents to be produced in Response to Request Nos. 11 and 13, which will
be provided upon execution of the attached Confidentiality Order.

Interrogatory No. 17: Please state the ARAC policies and procedures, in effect on July
13, 2014 in the United States, for a rental of a high-powered and/or sports vehicle, such as a Ford
Mustang, to an individual under 25 years of age.

Amswer: Avis Rent A Car Systems, LLC objects to this Interrogatory on the grounds
that it is vague and ambiguous such that it may not be reasonably calculated to lead to the
discovery of admissible evidence. Specifically, the terms “high-powered vehicle” and
“sports vehicle” are vague and ambiguous.

Defendant further objects on the ground that this Interrogatory is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, pursuant to Federal Rule of Civil
Procedure 33(d), responsive information to this Interrogatory may be ascertained by
examining the documents to be produced in Response to Request No. 11, which will be

provided upon execution of the attached Confidentiality Order. Each location has
discretion whether to rent a Ford Mustang, to an individual under 25 years of age,

Interrogatory No. 18: Please state the terms of the agreement, or agreements, in effect on
July 13, 2014, between ARAC and/or any ARAC related entities and Lake Powell Car Rental
Companies, LLC’s (“Lake Powell”) pertaining to Lake Powell’s operation of the AVIS Rent A
Car location in Page, Arizona.

Answer: Defendant objects to providing the terms of the agreement between itself and
Lake Powell Car Rental Companies, LLC absent a confidentiality agreement.
Once a confidentiality order has been entered, Defendant will provide the requested
documentation identified as Avis-000012 through Avis-000029. Pursuant to Federal Rule
of Civil Procedure 33(d), responsive information to this Interrogatory may be ascertained
by examining the requested documentation.

Interrogatory No. 19: At or around July 13, 2014 did ARAC expect its agents, and/or
licensees, franchisees, including but not limited to Lake Powell Car Rental Companies, LLC
(“Lake Powell”), to comply with ARAC policies and procedures for renting motor vehicles? If
So, please specifically identify such policies and procedures and all steps taken to inform Lake
Powell of those policies and procedures, educate Lake Powell on those policies and procedures,
confirm that Lake Powell understands those policies and procedures and confirm that Lake
Powell is following those policies and procedures.

Answer: Defendant objects on the ground that this Interrogatory is vague and
ambiguous such that it may seek information not reasonably calculated to lead to the
discovery of admissible evidence. Specifically, it is unclear what Plaintiffs mean by
“expect.”

Defendant further objects on the ground that this Interrogatory is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving those objections, pursuant to Federal Rule of Civil

Procedure 33(d), responsive information to this Interrogatory may be ascertained by
examining the documents that will be provided as Response to Request No. 17.

Interrogatory No. 20: At or about July 13, 2014, did PV Holdings, ARAC or some other
entity related to ARAC charge a fee to Lake Powell Car Rental Companies, LLC for renting a

vehicle owned or registered to PV Holdings? If so, please provide information about how that
fee was computed, and identify the entity that charged such fee as well as the entity that received
such fee.
Answer: Upon information and belief, Defendant does not charge a fee to Lake Powell

Car Rental Companies, LLC for renting a vehicle owned or registered to PV Holdings.
However, Lake Powell Car Rental Companies, LLC likely has the information requested.
Response to Requests for Production

Request No, 11: Please provide all documents that set forth the policies and procedures, in
effect on July 13, 2014, for ARAC’s rental of a motor vehicle in the United States to an
individual under 25 years of age.
Response: Defendant objects on the ground that this Request is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, upon execution of the attached
Confidentiality Order, Defendant will provide the requested documentation identified as

Avis-000001 through Avis-000006 and titled “Rental Procedures: Qualifying the
Customer.”

Request No. 12: Please provide all documents that set forth the ARAC policies and
procedures, in effect on July 13, 2014 in the United States, regarding providing security for a
rental agreement by credit card.
Response: Defendant objects on the ground that this Request is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, upon execution of the attached
Confidentiality Order, Defendant will provide the requested documentation that are to be

produced as Response to Request No. 11, and titled “Rental Procedures: Qualifying the
Customer.”

Request No. 13: Please provide all documents that set forth the ARAC policies and
procedures, in effect on July 13, 2014, regarding the rental of a vehicle in the United States to an

individual with a foreign driver’s license, but not a United States driver’s license.
Response: Defendant objects on the ground that this Request is not reasonably
calculated te lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, upon execution of the attached
Confidentiality Order, Defendant will provide the requested documentation to be produced
with Response to Request No. 11 and titled “Rental Procedures: Qualifying the Customer.”
Defendant will also produce the requested documentation identified as Avis-000007
through Avis-000012 and titled “Rental Procedures: Driver’s License.”

Request No. 14: Please provide all documents that set forth the ARAC policies and
procedures, in effect on July 13, 2014, regarding the rental of a vehicle in the United States to an
individual with a Turkish driver’s license, but not a United States driver’s license.

Response: Defendant objects on the ground that this Request is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in
Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Subject to and without waiving that objection, upon execution of the attached
Confidentiality Order, Defendant will provide the requested documentation that are to be
produced as Response to Request No. 11 and titled “Rental Procedures: Qualifying the
Customer.” Defendant will also produce the requested documentation that will be
produced as Response to Request No. 13, and titled “Rental Procedures: Driver’s License.”

Request No. 15: Please provide all ARAC documents that set forth the policies and
procedures, in effect on July 13, 2014, regarding the rental of a minivan in the United States to
an individual under the age of 25.

Response: Defendant objects on the ground that this Request is not reasonably calculated
to lead to the discovery of admissible evidence. The Avis Rent a Car location in Page,

Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones in
this case, not Avis Rent a Car policies and procedures.
Subject to and without waiving that objection, upon execution of the attached
Confidentiality Order, Defendant will provide the requested documentation that are to be
produced as Response to Request No. 11, and titled “Rental Procedures: Qualifying the
Customer.”

Request No. 16: Please provide all documents that set forth the ARAC policies and
procedures, in effect on July 13, 2014, regarding the rental of a high-powered sports vehicle,
including but not limited to a Ford Mustang, in the United States to an individual under the age
of 25,

Response: Defendant objects on the ground that this Request is not reasonably
calculated to lead to the discovery of admissible evidence. The Avis Rent a Car location in

Page, Arizona is a licensee, thus the licensee’s policies and procedures are the relevant ones
in this case, not Avis Rent a Car policies and procedures.

Defendant further objects to this Request on the grounds that it is vague and
ambiguous such that it may not be reasonably calculated to lead to the discovery of
admissible evidence. Specifically, the terms “high-powered vehicle” and “sports vehicle”
are vague and ambiguous.

Subject to and without waiving that objection, upon execution of the attached
Confidentiality Order, Defendant will provide the requested documentation that are to be

produced as Response to Request No. 11, and titled “Rental Procedures: Qualifying the
Customer.”

Request No. 17: Please produce copies of all agreements entered between Lake Powell Car
Rental Companies, LLC and ARAC or any ARAC related entity related to the operation of the
AVIS Rent A Car location in Page, Arizona.

Response: Defendant objects to providing the terms of the agreement between itself and
Lake Powell Car Rental Companies, LLC absent a confidentiality agreement.

Once the attached confidentiality order has been entered, Defendant will provide
the requested documentation, identified as Avis-000013 through Avis-000029.
Request No. 18: Please produce copies of any policies and procedures identified in
response to Interrogatory No. 19.

Response: Documents responsive to this Request will be produced as Response to
Request No. 17 once a confidentiality order has been entered.
Response to Requests for Admission.
Request For Admission No. 1: Admit that ARAC is responsible for the content of the

website located at http:/Aocations.avis.com/us/az/page/pga. html. (Screen print and
accompanying “Terms of Use” attached as Exhibit 1.)

Admit Deny Xx

Request For Admission No. 2: Admit that ARAC controls and operates the website located
at http://locations.avis.com/us/az/page/pga.html. (Ex. 1, Screen print.)

Admit Deny xX

Request For Admission No. 3: Admit that the website located at
http://locations.avis.com/us/az/page/pga.html states that “At this location, the minimum age is
25.” (Ex. 1, Screen print.)

Admit Deny x

Defendant objects to this request te the extent that the document speaks for itself.

Request For Admission No. 4: Admit that the website located at
hitp://locations.avis.com/us/az/page/pga.html states that “At the time of rental, the renter or
authorized driver may be subject to an electronic DMV check from the issuing state of the

driver's license, or may be asked to sign a declaration attesting to specific criteria:

o The renter/authorized driver has a valid license that is not currently suspended,
expired, revoked, canceled or surrendered.

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o The renter/authorized driver has not, within the last 36 months had 1 or more
convictions for reckless driving.

o The renter/authorized driver has not, within the last 36 months had 1 or more
convictions for driving under the influence (DUD), driving while intoxicated
(DWD), or driving while alcohol impaired (DWAD.

o The renter/authorized driver has not, within the last 36 months failed to report or
leave the scene of an accident.

o The renter/authorized driver has never been in possession of a stolen vehicle or
used a vehicle in a crime.

o The renter/authorized driver has not, within the last 24 months had 3 or more
convictions for moving violations (including seat belt violations).

o The renter/authorized driver has not, within the last 36 months had 3 or more
accidents,”
(Screen print attached as Exhibit 2.)

Admit Deny x

Defendant objects to this request to the extent that the document speaks for itself,

Request For Admission No. 5: Admit that the website located at
http://locations.avis.com/us/az/page/pga.html states that “All additional drivers must be at least
25 years of age.” (Screen print attached as Exhibit 3.)

Admit ———s—i(§$§-«Deny = XC

Defendant objects to this request to the extent that the document speaks for itself.

Request For Admission No. 6: Admit that ARAC is responsible for the content of the
website located at http //www.avis.com/car-rental/content/render-faq.ac. (Screen print and Terms
of use attached as Exhibit 4.)

Admit Deny Xx

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Reguest For Admission No. 7: Admit that ARAC operates and controls the website

located at http://www.avis.com/car-rental/content/render-faq.ac. (Ex. 4.)

Admit

Deny x

Request For Admission No. 8: Admit that the website located at http://www.avis,com/car-

rental/content/render-faq.ac provides that:

Renters between the ages of 21-24 may not rent vehicles in the following car

classes:

e

(Ex. 4, Screen print.)

Full-Size SUVs
Luxury
Minivans
Passenger Vans
Premium SUVs

Signature Series

Admit Deny x

Defendant objects to this request to the extent that the document speaks for itself.

Request For Admission No. 9: Admit that, in July of 2014, ARAC considered a 2014 Ford

Mustang, VIN 1ZVBP8EM0E5236511, a “signature series” automobile,

Admit

Deny A Ford Mustang is currently a
“specialty vehicle.” Avis Rent A Car
Systems, LLC, does not know the
vehicle’s classification in July of 2014.

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Request For Admission No. 10: | Admit that ARAC is responsible for the content of the
website located at http://www.avis.com/car-rental/location/CAU/US/AZ/Page/PGA. (Screen
print and Terms of use attached as Exhibit 5.)

Admit Deny x

Request For Admission No. 11: | Admit that ARAC operates and controls the website located
at http://www.avis.com/car-rental/location/CAU/U S/AZ/Page/PGA. (Ex. 5.)

Admit Deny x

Request For Admission No.12: | Admit that the website located at http://www.avis.com/car-

rental/location/CAU/US/AZ/Page/PGA states that “At this location, the minimum age is 25,”
(Ex. 5.)

Admit Deny x

Defendant objects to this request to the extent that the document speaks for itself.

Request For Admission No. 13: | Admit that the documents attached hereto as Exhibits 1-5
are true and correct copies of ARAC websites.

Admit Deny x

Defendant objects to this request to the extent that the document speaks for itself,

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Request For Admission No. 14; Admit that the documents attached hereto as Exhibits 1-5

state published policies and procedures for rentals from the ARAC Page Arizona rental location.

Admit Deny x

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Respectfully Submitted,

Allen, Shepherd, Lewis & Syra, P.A.

 

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